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                                                     U.S. Department of Justice

                                                     MATTHEW M. GRAVES
                                                     United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   January 28, 2022
HAND DELIVERED

Brandon Fellows
Inmate #377943
c/o Kimberlee Smith OR Ingrid Washington
1901 D Street SE
Washington, DC 20003


       Re:     Pro Se Discovery 4 in United States v. Brandon Fellows
               Case No. 21-cr-83 TNM
Mr. Fellows:

Enclosed you will find a DVD containing the following documents:

   •   Global Production 10 letter and production which was produced on January 14, 2022.
       Follow the instructions in the “_READ ME – How to view this production” in order to
       view the contents.

       The Government will continue to provide individual discovery as it becomes available in
addition to any future global discovery that you are allowed to view with supervision. If you
have any questions, please feel free to contact me at mona.furst@usdoj.gov or 316-269-6537.

                                                   Sincerely,

                                                   /s/ Mona Lee M. Furst
                                                   Mona Lee M. Furst
                                                   Assistant United States Attorney
Enclosure(s)
cc: Joseph Conte
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